          Case 1:24-cr-00135-NODJ-BAM Document 13 Filed 06/07/24 Page 1 of 2


 1 PHILLIP A. TALBERT
   United States Attorney
 2 ROBERT L. VENEMAN-HUGHES
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:24-MJ-00069-EPG
12                                Plaintiff,             STIPULATION AND ORDER TO CONTINUE
                                                         DETENTION HEARING
13                          v.
                                                         DATE: June 10, 2024
14   CHRISTOPHER BACA-ARIAS,                             TIME: 2:00 p.m.
15                                Defendant.
16

17          This case is set for a detention hearing on June 10, 2024. The parties agree and stipulate to

18 continue the detention hearing until June 13, 2024 for good cause as set forth below, including but not

19 limited to the the schedule of counsel and the facts that this is a presumption case and the defendant

20 intends to submit on the issue of detention.
21                                                STIPULATION

22          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

23 through defendant’s counsel of record, hereby stipulate as follows:

24          1.      By previous order, this matter was set for detention hearing on June 10, 2024.

25          2.      By this stipulation, defendant now moves to continue the detention hearing until June 13,

26 2024, at 2:00 p.m.
27          3.      The parties agree and stipulate, and request that the Court find the following:

28                  a)     This case involves a rebuttal presumption in favor of detention on the issues of


      STIPULATION AND ORDER TO CONTINUE DETENTION        1
30
          Case 1:24-cr-00135-NODJ-BAM Document 13 Filed 06/07/24 Page 2 of 2


 1          flight and danger.

 2                   b)    The defendant is submitting on the issue of detention.

 3                   c)    Counsel for defendant is not in the district on June 10, 2024.

 4                   d)    The government does not object to the continuance.

 5                   e)    Good cause exists to continue the detention hearing for the reasons set forth

 6          above.

 7

 8          IT IS SO STIPULATED.
                                                             PHILLIP A. TALBERT
 9   Dated: June 10, 2024                                    United States Attorney
10
                                                             /s/ ROBERT L. VENEMAN-HUGHES
11                                                           ROBERT L. VENEMAN-HUGHES
                                                             Assistant United States Attorney
12

13   Dated: June 10, 2024                                    /s/ PATRICK AGUIRRE
                                                             PATRICK AGUIRRE
14
                                                             Counsel for Defendant
15                                                           CHRISTOPHER BACA-ARIAS

16
                                           FINDINGS AND ORDER
17
            Having reviewed the parties’ stipulation, the Court finds the following:
18
                     a)    The defendant consents to continuance of the detention hearing.
19
                     b)    Good cause exists to continue the detention hearing.
20
            IT IS HEREBY ORDERED that the detention hearing scheduled for June 10, 2024 at 2:00 p.m.
21
   is continued to June 13, 2024 at 2:00 p.m. before the duty magistrate judge.
22 IT IS SO ORDERED.

23
        Dated:    June 7, 2024                                 /s/
24                                                    UNITED STATES MAGISTRATE JUDGE
25

26
27

28

      STIPULATION AND ORDER TO CONTINUE DETENTION        2
30
